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                                                   UNITED STATES DISTRICT COURT
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                                                           DISTRICT OF NEVADA
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                                                                        2:10-CR-454 JCM (GWF)
                  8     UNITED STATES OF AMERICA,

                  9                     Plaintiff(s),
                10      v.
                11
                        FRANCISCO GARCIA, ELOY
                12      GARCIA, EFRAIN GARCIA, and
                        NABOR GARCIA,
                13
                14                      Defendant(s).

                15
                16                                                     ORDER
                17            Presently before the court is the matter of United States v. Francisco Garcia, et al, case no.
                18    2:10-cr-454-JCM-GWF. Defendants Francisco, Eloy, Efrain, and Nabor Garcia were indicted and
                19    sentenced on charges relating to conspiracy and money laundering. (See doc. ## 140, 141, 142, 143).
                20    Certain real property was subject to the forfeiture order. Various third-parties have filed motions
                21    asserting interests in the subject properties.
                22    (1)     Unopposed motion by Clark County Treasurer (doc. # 144).
                23            Clark County has filed a petition asserting a legal interest in each of the properties subject
                24    to forfeiture for unpaid property taxes. Clark County has submitted supporting documentation along
                25    with its unopposed motion. The motion is granted.
                26    ...
                27    ...
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James C. Mahan
U.S. District Judge
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                  1   (2)    Motion to adjudicate legal interest by Republic Services, Inc. (doc. # 145).
                  2          Republic Services, a waste management company, picked up trash and other waste from the
                  3   following four real properties subject to forfeiture: 3752 Majesty Palm, APN 140-07-219-030
                  4   (balance due $40.72); 2289 Black Bush Lane, APN 140-22-510-053 (balance due $623.14); 3890
                  5   Idlewood Ave., APN 140-07-116-008 (balance due $42.03); and 5455 Meikle Lane, APN 140-21-
                  6   307-003 (balance due $2,827.51). Republic has supported its motion with points and authorities and
                  7   the affidavit of Carolyn Paige, the manager of collections, supporting its assertions. The motion is
                  8   granted.
                  9   (3)    Motion for hearing by Victor Garcia and Erika Garcia (doc. # 147).
                10           Victor and Erika Garcia assert they have a legal interest in the property located at 3890
                11    Idlewood Avenue, Las Vegas, Nevada, County of Clark. Victor and Erika assert simply that Victor
                12    borrowed $10,000 from defendant Francisco, that he later repaid that amount, and that the remaining
                13    money used to purchase the home came from other legitimate sources. No documents are attached,
                14    including any affidavits or other evidence.
                15           The bare bones motion is denied without prejudice. Victor and Erika Garcia are ordered to
                16    submit a renewed motion containing sufficient facts and supporting documentation. Upon receipt
                17    of the renewed motion and supporting documentation, the court will decide if a hearing is necessary
                18    pursuant to 21 U.S.C. § 853.
                19    (4)    Motion for hearing by Javier Garcia and Elia A. Garcia (doc. # 148).
                20           Javier and Elia Garcia have filed a pro se motion asserting a legal interest in the property
                21    located at 3752 Majestic Palm, Clark County, Las Vegas, NV. Javier and Elia have not submitted
                22    any evidence supporting their claim that they have a legitimate legal interest in the subject property,
                23    other than a photocopied check for $10,000. This is insufficient.
                24           The bare bones motion is denied without prejudice. Javier and Elia Garcia are ordered to
                25    submit a renewed motion containing sufficient facts and supporting documentation. Upon receipt
                26    of the renewed motion and supporting documentation, the court will decide if a hearing is necessary
                27    pursuant to 21 U.S.C. § 853.
                28
James C. Mahan
U.S. District Judge                                                    -2-
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                  1          The court recognizes that Javier and Elia are California residents and are proceeding in pro
                  2   se. Accordingly, the court will grant them additional time to file their renewed motion, up to, and
                  3   including, March 15, 2014.
                  4   (5)    Motion for forfeiture of property by Clark County Water Reclamation District (doc. # 152).
                  5          The Clark County Water Reclamation District has outstanding service obligations due and
                  6   owning on the following four properties subject to forfeiture: 2289 Black Bush Lane, APN 140-22-
                  7   510-053; 3890 Idlewood Avenue, APN 140-17-116-008; 6644 Grand Oaks Drive, APN 140-22-615-
                  8   028; and 5455 Meikle Lane, APN 140-21-307-003.
                  9          Kelly McConnell, the Reclamation District’s utility and billing supervisor, has submitted a
                10    declaration and supporting evidence indicating the Water Reclamation District has valid claims on
                11    the aforementioned properties. The motion is granted.
                12           Accordingly,
                13           IT IS HEREBY ORDERED, ADJUDGED, and DECREED that the unopposed motion by
                14    the Clark County treasurer (doc. # 144) be, and the same hereby is, GRANTED.
                15           IT IS FURTHER ORDERED that Republic Services, Inc.’s motion to adjudicate legal
                16    interest (doc. # 145) be, and the same hereby is, GRANTED.
                17           IT IS FURTHER ORDERED that Victor and Erika Garcia’s motion for a hearing (doc. #
                18    147) be, and the same hereby is, DENIED without prejudice. Victor and Erika Garcia are hereby
                19    ORDERED to file a renewed motion containing the requisite evidence supporting their claims to the
                20    subject property no later than February 28, 2014.
                21           IT IS FURTHER ORDERED that Javier and Elia Garcia’s motion for a hearing (doc. # 148)
                22    be, and the same hereby is, DENIED without prejudice. Javier and Elia Garcia are hereby
                23    ORDERED to file a renewed motion containing the requisite evidence supporting their claims to the
                24    subject property no later than March 14, 2014.
                25    ...
                26    ...
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James C. Mahan
U.S. District Judge                                                  -3-
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                  1          IT IS FURTHER ORDERED that Clark County Water Reclamation District’s motion for
                  2   forfeiture of property (doc. # 152) be, and the same hereby is, GRANTED.
                  3          DATED February 11, 2014.
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                                                          UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                -4-
